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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                              )        CASE NO. 15-56155-wlh
                                                    )
Tammy Patricia Simpson,                                      CHAPTER 7
                                                    )
         Debtor                                     )
                                                    )
Robert Trauner,
                                                    )
Chapter 7 Trustee for the Estate of                 )
Tammy Patricia Simpson,                             )        Adversary Proceeding
         Plaintiff                                  )
                                                    )
vs.                                                 )        No. _______________
First Tennessee Bank National Association,          )
Successor Thru Merger With First Horizon            )
Home Loan Corporation,                              )
                                                    )
         Defendant

                                             Complaint

         COMES NOW Robert Trauner, the Chapter 7 Trustee of the Estate of Tammy Patricia

Simpson (“Trustee”), and files this Complaint against First Tennessee Bank National

Association, Successor Thru Merger With First Horizon Home Loan Corporation, and in support

thereof, respectfully shows the Court as follows:

                                       Jurisdiction and Venue

         1.       This is an Adversary Proceeding brought pursuant to Rule 7001 of the Federal

Rules of Bankruptcy Procedure and, inter alia, Sections 544, 550 and 551 (11 U.S.C. §§ 544, 550

and 551) of the United States Bankruptcy Code (the “Bankruptcy Code).

         2.       This Adversary Proceeding arises in and relates to the case of In re Tammy

Patricia Simpson, Chapter 7 Case No. 15-56155-wlh (the “Bankruptcy Case”) pending in the

United States Bankruptcy Court for the Northern District of Georgia, Atlanta Division.
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       3.      This Adversary Proceeding is a core proceeding pursuant to 28 U.S.C. §§

157(b)(2)(A), (K), and (0).

       4.      This Court has jurisdiction over this Adversary Proceeding pursuant to 28 U.S.C.

§§ 157 and 1334.

       5.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409(a).

       6.      Trustee consents to the entry of final orders and judgments by the Bankruptcy

Court with respect to any claims that may be determined to be non-core, and as to any core

claims determined to require such consent.

                                             The Parties

       7.      Plaintiff is the duly appointed and acting Trustee under Chapter 7 of the

Bankruptcy Code of Tammy Patricia Simpson (“Debtor”), who filed her Voluntary Petition for

Relief (“Petition”) under Chapter 7 of the Bankruptcy Code in this Court on April 3, 2015 (the

“Petition Date”). See Petition, Statement of Financial Affairs (SOFA), Schedules of Assets and

Liabilities (Schedules) and related documents filed in Case # 15-56155-wlh (the “Main Case”)

on April 3, 2015 [Main Case Docket # 1].

       8.      Defendant First Tennessee National Association (“Defendant First Tennessee”) is

national banking association headquartered in the United States and is subject to the jurisdiction

of this Court. An “Entry of Appearance and Request for Notices” has been filed by counsel for

“First Tennessee Bank National Association, Successor Thru Merger With First Horizon Home

Loan Corporation” [Main Case Docket # 45]. Moreover, Defendant First Tennessee has been

listed by Debtor on Schedule D - Creditors Holding Secured Claims as having a secured claim in

the principal amount of $69,181.00. [Main Case Docket # 1, p. 19]. Defendant First Tennessee




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may be served with a copy of this complaint through its Registered Agent in the State of

Georgia, CT Corporation System, 1201 Peachtree Street, NE Atlanta Georgia 30361.

                             Background Facts and Applicable Georgia Law

        9.       On and as of the Petition Date, Debtor owned a parcel of real property commonly

known as 2520 Brookwood Drive NE, Atlanta, Fulton County, Georgia 30305 (the “Property”).

On Schedule A, Real Property, of Debtor’s Schedules of Assets and Liabilities (Schedules)

[Main Case Docket # 1], Debtor listed the then-current market value of the Property as $650,000.

        10.      On August 4, 2015, Trustee filed a Notice of Bankruptcy Filing and Claim of

Chapter 7 Trustee (the "Trustee's Notice") with the Clerk of the Superior Court of Fulton County,

Georgia, effectively giving notice to the whole world of the Trustee's claim of interest in the

Property. A true and correct copy of Trustee's Notice is attached as Exhibit "A" and incorporated

by reference.1

        11.      Debtor executed a Security Deed dated October 24, 2004, in favor of First

Horizon Home Loan Corporation (“First Horizon”), purportedly securing repayment of a “Home

Equity Line of Credit” provided to Debtor by First Horizon (the “Security Deed”). The Security

Deed was recorded with the Clerk of the Superior Court of Fulton County, Georgia on November

8, 2004. A true and correct copy of the Security Deed is attached as Exhibit "B" and

incorporated by reference.

        12.      At some point in time, the exact date being currently unknown to Trustee, First

Horizon merged with Defendant First Tennessee, and became known as “First Horizon Home

Loans, a division of First Tennessee Bank National Association.” Trustee further states, upon

1
  The copy of Trustee’s Notice attached hereto bears a “Received” stamp from the Office of the Clerk of Superior
Court of Fulton County Georgia. Trustee has not yet received back the original with the “Book and Page” notation
identifying where it can be found in the Official Records of Fulton County, Georgia.



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information and belief, that Defendant First Tennessee is the current holder of the Security Deed

and the underlying debt purportedly secured by the Security Deed, and is the real party in interest

in this matter.

        13.       The Security Deed was signed and “witnessed” as follows:




See, Security Deed, p. 9.

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        14.     Georgia law, as it existed at the time of the filing of the Security Deed, provided,

in pertinent part, as follows:

                a.     “Before any deed to realty or personalty or any mortgage, bond for title,
        or other recordable instrument executed in this state may be recorded, it must be attested
        or acknowledged as provided by law. However, nothing in this Code section shall
        dispense with another witness where an additional witness is required.” O.C.G.A. § 44-
        2-14(a) (2004 Georgia Code Archive) (emphasis added);

                b.      “A deed to lands must be in writing, signed by the maker, and attested by
        at least two witnesses.” O.C.G.A. § 44-5-30 (2004 Georgia Code Archive) (emphasis
        added);

                c.      “In order to admit deeds to secure debt or bills of sale to record, they
        shall be attested or proved in the manner prescribed by law for mortgages. O.C.G.A. §
        44-14-61 (2004 Georgia Code Archive) (emphasis added);

                d.     “In order to admit a mortgage to record, it must be attested by or
        acknowledged before an officer as prescribed for the attestation or acknowledgment of
        deeds of bargain and sale; and, in the case of real property, a mortgage must also be
        attested or acknowledged by one additional witness.” O.C.G.A. § 44-14-33 (2004
        Georgia Code Archive) (emphasis added);

                e.      A mortgage which is recorded in an improper office or without due
        attestation or probate or which is so defectively recorded as not to give notice to a
        prudent inquirer shall not be held to be notice to subsequent bona fide purchasers. A
        mere formal mistake in the record shall not vitiate it. O.C.G.A. § 44-14-39 (2004
        Georgia Code Archive) (emphasis added);

                f.      “Any of the instruments enumerated in Code Section 44-2-14 may be
        attested by a judge of a court of record, including a judge of a municipal court, or by a
        magistrate, a notary public, or a clerk or deputy clerk of a superior court or of a city court
        created by special Act of the General Assembly.” O.C.G.A. § 44-2-15 (2004 Georgia
        Code Archive) (emphasis added);

                g.      “’Attesting’” and ‘attestation’ are synonymous and mean the notarial act
        of witnessing or attesting a signature or execution of a deed or other written
        instrument, where such notarial act does not involve the taking of an acknowledgment,
        the administering of an oath or affirmation, the taking of a verification, or the
        certification of a copy.” O.C.G.A. § 45-17-1(a) (2004 Georgia Code Archive) (emphasis
        added);

               h.     “Notaries public shall have authority to: (1) Witness or attest signature
        or execution of deeds and other written instruments; (2) Take acknowledgments;
        O.C.G.A. § 45-17-8(a) (2004 Georgia Code Archive) (emphasis added);


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        15.     Most importantly for the purposes of this Adversary Proceeding, Georgia law, as

it existed at the time of the filing of the Security Deed, provided, in pertinent part, as follows:

              (a) Except as otherwise provided in this Code section, in documenting a
           notarial act, a notary public shall sign on the notarial certification, by hand
           in ink, only and exactly the name indicated on the notary's commission and
           shall record on the notarial certification the exact date of the notarial act.

             (b) The requirement of subsection (a) of this Code section for
           recording of the date of the notarial act shall not apply to an attestation of
           deeds or any other instruments pertaining to real property.

O.C.G.A. § 45-17-8.1(a) & (b) (2004 Georgia Code Archive) (emphasis added);

        16.      As further explained by Georgia law:

           Attestation and acknowledgement are different acts. Attestation is the act
           of witnessing the actual execution of a paper and subscribing one's name
           as a witness to that fact. Acknowledgment is the act of a grantor in going
           before some competent officer and declaring the paper to be his deed; and
           to make such acknowledgment good in law, it must be accompanied by the
           certificate of the officer that it has been made. In Webb on Record of Title,
           § 69, the author says the certificate should state the fact of the
           acknowledgment and by whom made, using substantially, at least, the
           statutory language in stating these matters; and, also, the certificate must
           show a compliance with the law by a specific statement of the facts
           constituting a valid acknowledgment. See also Am. and Eng. Enc. of L.
           vol. 1, title Acknowledgment, and Bouvier's Law Dict. same title.

White v. Magarahan, 87 Ga. 217, 219 (1891) (emphasis added). See, also, In re Estate of

Burleson, 24 N.C. App. 136, 138 (1974) (“An acknowledgement is a formal declaration or

admission before an authorized public officer by a person who has executed an instrument that

the instrument is his voluntary act and deed. It is different from an attestation in that an

attestation is the act of a third person who witnessed the actual execution of an instrument and

subscribed his name as a witness to that fact, . . . .”).




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        17.    The signature page of the Security Deed is a “hybrid” of both an attestation and

an acknowledgment, and it fails to comply with the requirements of Georgia law as to either an

attestation or an acknowledgement.

        18.    The Security Deed reflects that Debtor’s signature was “Signed, sealed and

delivered in the presence of” only one witness, whose signature is illegible, and whose name

cannot be ascertained from an examination of the Security Deed. See, Security Deed, p. 9.

        19.    The following language appears in the Security Deed between the Debtor’s and

attesting witness’s signature and the Notary Certificate:

          Before me on this       day of                    ,       , personally
          appeared

          TAMMY P SIMPSON

          who acknowledged that he/she/they signed this Georgia Deed to Secure
          Debt as his/her/their own act.

See, Security Deed, p. 9. (emphasis added).

        20.    It is clear from the face of the Security Deed that the “notarial act” intended to be

accomplished by the Notary was to take an acknowledgement from Debtor that Debtor had

signed the Security Deed rather than attesting to witnessing Debtor’s signature on the Security

Deed.

        21.    Debtor's execution of the Security Deed was not attested by two witnesses, and

was also not attested by an officer as prescribed for the attestation or acknowledgment of deeds

of bargain and sale, as required by O.C.G.A. §§ 44-2-14(a), 44-5-30, 44-14-33, 44-14-61 and 45-

17-1(a) in effect at the time of the execution of the Security Deed; and these defects in attestation

are apparent from the face of the Security Deed.




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        22.     Also, the Notary failed to properly perform his notarial act of taking an

acknowledgement by recording on “the notarial certification the exact date of the notarial act”

as required by O.C.G.A. § 45-17-8.1(a). The failure to meet this requirement is not excused by

O.C.G.A. § 45-17-8.1(b), since such failure did not occur in connection with an attestation of

deeds or any other instruments pertaining to real property—rather, it occurred in connection

with the taking of an acknowledgement of the signing of a Security Deed. As a result, Debtor's

execution of the Security Deed was not properly acknowledged before by an officer as

prescribed for the acknowledgement of deeds of bargain and sale. This defect in taking an

acknowledgement is also apparent from the face of the Security Deed.

                               COUNT I
         AVOIDANCE AND RECOVERY OF DEFENDANT'S SECURITY DEED
                 PURSUANT TO 11 U.S.C. §§ 544, 550, AND 551

        23.     The Trustee re-alleges and incorporates paragraphs 1 through 22 of the Complaint

as if fully set forth herein.

        24.     Section 544(a)(3) of the Bankruptcy Code provides, in pertinent part, that a

bankruptcy trustee:

           shall have, as of the commencement of the case, and without regard to any
           knowledge of the trustee or of any creditor, the rights and powers of, or
           may avoid any transfer of property of the debtor or any obligation
           incurred by the debtor that is voidable by . . . a bona fide purchaser of
           real property, other than fixtures, from the debtor, against whom applicable
           law permits such transfer to be perfected, that obtains the status of a bona
           fide purchaser and has perfected such transfer at the time of the
           commencement of the case, whether or not such a purchaser exists.

See 11 U.S.C. § 544(a)(3).

        25.     State law determines the extent of the powers of a bona fide purchaser of real

property. See, e.g. Butner v. U.S., 440 U.S. 48, 55, 99 S.Ct. 914, 918, 59 L. Ed. 2d 136 (1979)

("Property interests are created and defined by state law. Unless some federal interest requires a


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different result, there is no reason why such interests should be analyzed differently simply

because an interested party is involved in a bankruptcy proceeding."); In re Hedrick, 524 F.3d

1175, 1182 (11th Cir. 2008).

       26.     The Property is situated in Georgia. Under Georgia law the Security Deed

executed by Debtor is patently defective because: (a) Debtor's execution of the Security Deed is

not attested to by two witnesses; (b) Debtor’s execution of the Security Deed is not attested by an

officer as prescribed for the attestation of deeds of bargain and sale; and (c) Debtor’s execution

of the Security Deed is not properly acknowledged by an officer as prescribed for the

acknowledgement of deeds of bargain and sale.

       27.     Because of these patent defects, the Security Deed does not provide constructive

or actual notice of any security interest, and is subordinate to the interests of Trustee as a bona

fide purchaser of real property under Georgia law. See, e.g., U.S. Bank Nat'l Ass 'n v. Gordon,

289 Ga. 12, 15 (2011); Gordon v. Wells Fargo Bank, N.A. (In re Codrington), 716 F.3d 1334

(2013); Higdon v. Gates, 238 Ga. 105, 107 (1976).

       28.     As this Court stated in In re Knight, 504 B.R. 668 (Bankr. N.D. Ga. 2014):

           A bona fide purchaser, under Georgia law, is not subject to a security
           deed, even if recorded, that is patently defective. A security deed must be
           attested or acknowledged as provided by law in the manner set forth for
           mortgages under Georgia law. See O.C.G.A. §§ 44-2-14, 44-14-61. In
           order for a security deed to be "duly recorded", it must be attested or
           acknowledged by an "official witness" such as a judge of a court of record,
           a notary public, or a clerk or deputy clerk of a superior court or a city court,
           and it must also be attested or acknowledged by an additional "unofficial"
           witness. See O.C.G.A. §§ 44-2-15, 44-14-33.

           The Georgia Supreme Court has clarified recently in cases involving this
           Trustee that a security deed with a patent defect, even though it may be
           recorded, does not provide constructive notice to a bona fide purchaser.
           U.S. Bank, N.A. v. Gordon, 289 Ga. 12, 709 S.E.2d 258 (2011). A patent
           defect is one that can be determined from the face of the document. See Id.
           at 13. A patent defect is one that is "obvious and easily detect-able", while a


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          latent defect "is not apparent on the face of the deed". Gordon v. Wells
          Fargo Bank, N.A. (In re Codrington), 430 B.R. 287, 292 (Bankr. N.D. Ga.
          2009), aff'd, 716 F.3d 1344 (11th Cir. 2013).

504 B.R. at 671 (emphasis added).

       29.     Trustee, in his position as a hypothetical bona fide purchaser of real property from

Debtor, has a superior claim in the Property to that of Defendant First Tennessee; and, pursuant

to Section 544(a)(3) of the Bankruptcy Code (11 U.S.C. § 544(a)(3)), Trustee is entitled to avoid

the Security Deed for the benefit of Debtor’s Bankruptcy Estate.

       30.     Pursuant to Section 550 of the Bankruptcy Code (11 U.S.C. § 550), Trustee is

entitled to recover the interest in the Property purportedly transferred by Debtor by means of the

avoided Security Deed.

       31.     Pursuant to Section 551 of the Bankruptcy Code (11 U.S.C. § 551), Trustee is

entitled to have the Security Deed preserved for the benefit of Debtor’s Bankruptcy Estate with

respect to property of Debtor’s Bankruptcy Estate.

       WHEREFORE, the Trustee prays that this Court enter an Order and Judgment:

               a.     avoiding the Security Deed as to Defendant First Tennessee;

               b.     preserving the Security Deed for the benefit of Trustee on behalf of

       Debtor’s Bankruptcy Estate; and

               c.     granting such other and further relief the Court deems just and proper.

       Dated: August 7, 2015.

                                    [Signature on Next Page]




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                                                Respectfully submitted,


                                                /s/ Robert A. Bartlett      .
Ragsdale, Beals, Seigler,                       Robert A. Bartlett
  Patterson & Gray, LLP                         Georgia Bar No. 040550
229 Peachtree Street, N.E., Suite 2400          rbartlett@rbspg.com
Atlanta, Georgia 30303-1629                     W. Russell Patterson, Jr.
Office: (404) 588-0500                          Georgia Bar No. 566920
Fax: (404) 523-6714                             wrpjr@rbspg.com

Attorneys for Trustee




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                                  Exhibit “A”
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When recorded return to:
Robert A. Bartlett
Ragsdale, Beals, Seigler,
Patterson & Gray, LLP
229 Peachtree St.NE, Suite 2400
Atlanta, GA 30303-1629

                                        Notice of Bankruptcy Filing and
                                     Claim of Chapter 7 Bankruptcy Trustee

IN RE:            Tammy Patricia Simpson

                  Land Lot 101 of the 17th District of Fulton County, Georgia, Being Parts of
                  Lots 20, 21, 22, 23, 24 And 25, Block "4" of Peachtree Heights Subdivision,

                   Street Address: 2520 Brookwood Drive NE, Atlanta, Georgia 30305
                   Fulton County, Georgia

       Notice is hereby given by Robert Trauner, Trustee Under Chapter 7 of the United States
Bankruptcy Code (11 U.S.C. §§ 101, et seq.) (the "Bankruptcy Code"), through his undersigned
attorney ("Trustee"), that on April 3, 2015, a Petition for Relief Under Chapter 7 of the
Bankruptcy Code was filed by Tammy Patricia Simpson, of 2520 Brookwood Drive NE, Atlanta,
Fulton County, Georgia 30305 ("Debtor")

        Notice is hereby further given that Robert Trauner, as Trustee, claims an interest in any
and all property that the Debtor, Tammy Patricia Simpson, now has or formerly had an
ownership interest, legal or equitable, including, but not limited to, that parcel of real estate
commonly known by the street address 2520 Brookwood Drive NE, Atlanta, Georgia 30305,
Fulton County, Georgia, which is more fully described in Exhibit "A" hereto.

         In giving such Notice, Trustee further states as follows:

        1.     Debtor's Petition for Relief Under Chapter 7 of the Bankruptcy Code (the
"Petition") was filed in the Atlanta Division of the United State Bankruptcy Court for the
Northern District of Georgia and assigned Case No. 15-56155-w1h. The filing of the Petition
created an estate for administration pursuant to the Bankruptcy Code (the "Bankruptcy Estate").
A copy of the Petition is attached hereto as Exhibit "B". A copy of the Notice of Chapter 7
Bankruptcy Case Meeting of Creditors & Deadlines as to Debtor's Bankruptcy Case, filed on
April 6, 2015 (the "Notice"), is attached hereto as Exhibit "C".

       2.    Robert Trauner was appointed Trustee Under Chapter 7 of the United States
Bankruptcy Code for the Debtor by the Notice, and continues as the duly authorized and acting
Trustee.

        3.     Trustee requests that, pursuant to 11 U.S.C. §549(c), this Notice of Bankruptcy
Filing and Claim of Chapter 7 Bankruptcy Trustee be filed in the public records of the Superior
Court of Fulton County, Georgia.
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       Respectfully submitted, this      17 1 ft day of August 2015.




                                                        72.4-ti- a ‘-tt.,-4747P
Unofficial Witness                                 Robert A. Bartlett
                                                   Attorney for Robert Trauner as Trustee for the
                                                   Estate of Tammy Patricia Simpson, Debtor,
                                                   Chapter 7 Case No. Case No. 15-56155-wlh
Sworn to and subscribed efore me                   Georgia Bar No. 040550
This 471A- day of                        , 2015.
                                                   Ragsdale Beals Seigler Patterson &Gray, LLP
                                                   229 Peachtree St., NE, Suite 2400
                                                   Atlanta, GA 30303-1629
                                                   (404) 588-0500
Notary Pu is                                       (404) 523-6714 (facsimile)
                                                   rbartlettgrbspg.com(email)

                     MY COMM,
My commissiori                        ic=9-o1q




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                                            Exhibit "A"

      All that tract or parcel of land lying and being in land lot 101 of the 17th district of Fulton
County, Georgia, being parts of Lots 20, 21, 22, 23, 24 and 25, Block "4" of Peachtree Heights
Subdivision, and being more particularly described as follows:

        Beginning at a point on the westerly right of way of Brookwood Drive a distance of
205.40 feet northerly from the Intersection of the Westerly Right of Way of Brookwood Drive
(50 foot right of way) and the Northerly Right of Way of Lindbergh Drive (50 foot right of way)
(formerly Maysons Avenue); running thence North 89 degrees 57 minutes 0 seconds West a
distance of 34.70 feet to a point; running thence North 77 Degrees 25 minutes 0 seconds West a
distance of 41.10 feet to an Iron pin found; running thence North 88 degrees 28 minutes 0
Seconds west a distance of 39 feet to an iron pin found; Running thence South 0 degrees 56
minutes 0 seconds West a Distance of 12.05 feet to an iron pin found; running thence North 88
degrees 21 minutes 0 seconds West a distance of 145.45 Feet to an iron pin found; running
thence North 0 degrees 41 Minutes 0 seconds West a distance of 50 feet to an iron pin Found;
running thence North 1 degree 51 minutes 12 seconds East a distance of 25 feet to an iron pin
found; running thence South 89 degrees 97 minutes 55 seconds East a distance of 80 feet to an
iron pin found; running thence South 88 degrees 0 minutes 0 seconds East a distance of 180 feet
to an iron pin found on the Westerly Right of Way of Brookwood Drive; running thence South 0
degrees 35 minutes 0 seconds West along the Westerly Right of Way of Brookwood Drive a
distance of 69.60 feet to a Point of beginning; being improved property known as 2520
Brookwood Drive, according to the present system of Numbering Houses in Fulton County,
Georgia.

       Being the same property granted to Tammy Patricia Simpson recorded on November 8,
2004 in Deed Book 38801, Page 227, Official Records of the Superior Court of Fulton County,
Georgia.
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                                                  United States Bankruptcy Court
                                                             Northern District of Georgia                                                                             Voluntary Petition
    Name of Debtor (if individual, enter Last, First, Middle)                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
      Simpson, Tammy Patricia


    All Other Names used by the Debtor in the last 8 years                                                    All Other Names used by the Joint Debtor in the last 8 years
    (include married, maiden, and trade names)                                                                (include married, maiden, and trade names):




    Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                             Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
    (if more than one, state all)                                                                             (if more than one, state all)

      xxx-xx-6316
    Street Address of Debtor (No. and Street, City, and State):                                               Street Address of Joint Debtor (No. and Street, City, and State):
      2520 Brookwood Drive
      Atlanta, GA
                                                                                             ZIP Code                                                                                        ZIP Code_
                                                                                        I 30305
    County of Residence or of the Principal Place of Business:                                                County of Residence or of the Principal Place of Business:
       Fulton
    Mailing Address of Debtor (if different from street address):                                             Mailing Address of Joint Debtor (if different from street address):


                                                                                             ZIP Code                                                                                        ZIP Code
                                                                                        I                                                                                               I
    Location of Principal Assets of Business Debtor
    (if different from street address above):


                           Type of Debtor                                     Nature of Business                                              Chapter of Bankruptcy Code Under Which
             (Form of Organization) (Check one box)                               (Check one box)                                                the Petition is Filed (Check one box)
    • Individual (includes Joint Debtors)                          ❑ Health Care Business                                • Chapter 7
         See Exhibit Don page 2 of this form.                      ❑ Single Asset Real Estate as defined                 ❑ Chapter 9                       ❑ Chapter 15 Petition for Recognition
     ❑ Corporation (includes LLC and LLP)                            in 11 U.S.C. § 101 (51B)                                                                 of a Foreign Main Proceeding
                                                                                                                         0 Chapter 11
     ❑ Partnership                                                 ❑ Railroad
                                                                                                                         ❑ Chapter 12                      ❑ Chapter 15 Petition for Recognition
     ❑ Other (If debtor is not one of the above entities,          ❑ Stockbroker
                                                                                                                         ❑ Chapter 13                         of a Foreign Nonmain Proceeding
       check this box and state type of entity below.)             0 Commodity Broker
                                                                   ❑ Clearing Bank
                        Chapter 15 Debtors                         ❑ Other                                                                                Nature of Debts
                                                                              Tax Exempt Entity                                                             (Check one box)
     Country of debtor's center of main interests:                                 -

                                                                           (Check box, if applicable)                    U    Debts are primarily consumer debts,              ❑ Debts are primarily
                                                                   ❑ Debtor is a tax-exempt organization                      defined in 11 U.S.C. § 101(8) as                   business debts.
     Each country in which a foreign proceeding
     by, regarding, or against debtor is pending:                    under Title 26 of the United States                      "incurred by an individual primarily for
                                                                     Code (the Internal Revenue Code).                        a personal, family, or household purpose."

                                    Filing Fee (Check one box)                                  Check one box:                        Chapter 11 Debtors
     El Full Filing Fee attached                                                                 ❑ Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D),
                                                                                                 ❑ Debtor is not a small business debtor as defined in 11 U.S.C. § 101(510).
     ❑ Filing Fee to be paid in installments (applicable to individuals only). Must             Check if
       attach signed application for the court's consideration certifying that the
       debtor is unable to pay fee except in installments. Rule 1006(b). See Official            ❑ Debtor's aggregate noncomingent liquidated debts (excluding debts owed to insiders or affiliates
                                                                                                     are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafr).
       Form 3A.
                                                                                                Check all applicable boxes:
     ❑ Filing Fee waiver requested (applicable to chapter 7 individuals only). Must              ❑ A plan is being filed with this petition.
       attach signed application for the court's consideration. See Official Form 3B.            ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                     in accordance with 11 U.S.C. § 1126(6).
    Statistical/Administrative Information                                                                                                                  THIS SPACE IS FOR COURT USE ONLY
     ❑ Debtor estimates that funds will be available for distribution to unsecured creditors.
     • Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
       there will be no funds available for distribution to unsecured creditors.
    Estimated Number of Creditors
         •                ❑            ❑              ❑          ❑            ❑             ❑             ❑              ❑               ❑
         I-               50-          100-           200-       1,000-        5.001-       10,001-       25,001-        50.001-         OVER
         49               99           199            999        5,000        10,000        25,000        50,000         100,000         100,000
    Estimated Assets
          ❑
          $o to
                          ❑
                          $50,001 to
                                        ❑
                                        5100,001 to
                                                      ■
                                                      ❑ ❑
                                                      $500,001   $1,000,001   510,000,001
                                                                                            ❑
                                                                                            $50,000,001
                                                                                                          ❑              ❑               ❑
                                                                                                          $100.000,001 0000,000,001 More than
          $50,000         $100,000      $500,000      to SI      to SIC       to $50        to 5100       to $500      to SI billion $1 billion
                                                      million    million      million       million       million
    Estimated Liabilities
        ❑
          $o to
                  ❑
                          $50,001 to
                                        ❑
                                        5100.001 to
                                                      ❑
                                                      5500,001
                                                                 ■
                                                                 ❑ ❑
                                                                 $1,000,001   $10,000,001   $50.000,001
                                                                                                          ❑              ❑               ❑
                                                                                                          $100,000,001 $500,000,001 More than
          $50,000         $100,000      $500,000      to SI      to $10       to $50        to $100       to $500      to SI billion SI billion
                                                      million    million      million       million       million


                                                                                                  Exhibit "B" Page 1
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              Case 15-56155-win Doc 1 Document     Page
                                      Filed 04/03/15     17 of04/03/15
                                                     Entered   34      16:52:15 Desc Main
B1 (Official Form 1)(04/13)
                                       Document     Page 2 of 50                                                                                                         Pa e2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                      Simpson, Tammy Patricia
(This page must be completed and filed in every case)
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                             Case Number:                                  Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                  Date Filed:
Where Filed:
         Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 Think Retail Solutions, LLC                                                          15-56153                                       4/03/15
District:                                                                            Relationship:                                 Judge:
 NDGA                                                                                 Member/LLC
                                      Exhibit A                                                                               Exhibit B
                                                                                       (To be completed if debtor is an individual whose debts are primarily consumer debts.)
 (To be completed if debtor is required to file periodic reports (e.g.,                1, the attorney for the petitioner named in the foregoing petition, declare that 1
 forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
 pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
 and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

   ❑ Exhibit A is attached and made a part of this petition.                           X /s/ Angelvn M. Wright                                      April 3, 2015
                                                                                          Signature of Attorney for Debtor(s)                      (Date)
                                                                                            Angelyn M. Wright

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
   ❑ Yes, and Exhibit C is attached and made a part of this petition.
   • No.

                                                                         Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
   ■  Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
   ❑ Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
            ■      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
            ❑      There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
            ❑      Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                        Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                (Check all applicable boxes)
            ❑      Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

            ❑      Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cur
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
            ❑      Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
            ❑      Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).

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B1 (Official Form 1)104/13)
                                       Document     Page 3 of 50                                                                                                          Pare 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Simpson, Tammy Patricia
(This page must be completed and filed in every case)
                                                                                   Sign atures
                 Signature(s) of Debtor(s) (Individual/Joint)                                                 Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7) I am aware that I may proceed under
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief         (Check only one box.)
     available under each such chapter, and choose to proceed under chapter 7.               o I request relief in accordance with chapter 15 of title 11. United States Co de.
     [If no attorney represents me and no bankruptcy petition preparer signs the                 Certified copies of the documents required by 11 U.S.C. §I515 are attacl ed.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                             O Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chap:er
     I request relief in accordance with the chapter of title 11, United States Code,          of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


 X ts/ Tammy Patricia Simpson
                                                                                           x Signature of Foreign Representative
   Signature of Debtor Tammy Patricia Simpson

 x Signature of Joint Debtor                                                                    Printed Name of Foreign Representative

                                                                                                Date
     Telephone Number (If not represented by attorney)                                             Signature of Non-Attorney Bankruptcy Petition Preparer
      April 3, 2015
                                                                                                I declare under penalty of perjury that (1) I am a bankruptcy petition
     Date                                                                                       preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                            and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
 X Is/ Angelyn M. Wright                                                                        pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                                                chargeable by bankruptcy petition preparers, I have given the debtor noticci
     Signature of Attorney for Debtor(s)                                                        of the maximum amount before preparing any document for filing for a
      Anaelyn M. Wright Georgia Bar No. 777662                                                  debtor or accepting any fee from the debtor, as required in that section.
                                                                                                Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      The Wright Law Alliance, P.C.
                                                                                                Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      1244 Clairmont Road, Suite 222
      P.O. Box 2890                                                                             Social-Security number (If the bankrutpcy-petition preparer is not
      Decatur, GA 30031-2890                                                                    an individual, state the Social Security number of the officer,
                                                                                                principal, responsible person or partner of the bankruptcy petition
     Address                                                                                    preparer.)(Required by 11 U.S.C. § 110.)

                                          Email: twlopc@earthlink.net
      404.373.9933 Fax: 888.900.0610
     Telephone Number
      April 3, 2015
                                                                                                Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the             x
     information in the schedules is incorrect.
                                                                                                Date
                Signature of Debtor (Corporation/Partnership)
                                                                                                Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                   person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                   Names and Social-Security numbers of all other individuals who prepared or
                                                                                                assisted in preparing this document unless the bankruptcy petition preparet is
     The debtor requests relief in accordance with the chapter of title 11, United              not an individual:
     States Code, specified in this petition.

 x
     Signature of Authorized Individual
                                                                                                If more than one person prepared this document, attach additional sheets
                                                                                                conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                                A bankruptcy petition preparer 's failure to comply with the provisions of
                                                                                                title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual
                                                                                                fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date

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                         (Chanter 7 Individual or JointD tor N           t            1 1'                                      oer   —       —   lh
UNITED STATES BANKRUPTCY COURT Northern District of Georgia

                                                Notice of
                        Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines
      A chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on 4/3/15.

You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the
bankruptcy clerk's office cannot give legal advice.
                                      See Reverse Side For Important Explanations
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married. maiden, trade, and address):
Tammy Patricia Simpson
2520 Brookwood Drive
Atlanta, GA 30305
Case Number:                                                                 Social Security ; Individual Taxpayer ID / Employer Tax ID / Other
15-56155—w1h                                                                 nos:
                                                                             xxx—xx-6316
Attorney for Debtor(s) (name and address):                                   Bankruptcy Trustee (name and address):
Angelyn M. Wright                                                            Robert Trauner
The Wright Law Office, P.C.                                                  P. 0. Box 421025
Suite 222                                                                    Atlanta, GA 30342
1244 Clairmont Road                                                          Telephone number: (404) 520-1496
P. 0. Box 2890
Decatur, GA 30031-2890
Telephone number: (404) 373-9933

                                                         Meeting of Creditors
Date: May 11, 2015                                                         Time: 01:30 PM
Location: Third Floor — Room 367, Russell Federal Building, 75 Spring Street SW, Atlanta, GA 30303
   NOTICE TO DEBTOR(S): Individuals who file bankruptcy must bring two forms of original documentation to their meeting of
   creditors: photo identification (driver's license, government ID, state photo ID, student ID, U.S. passport, military ID, or resident alien
   card) and confirmation of their social security number. Additionally, vou must provide the trustee whose name appears above with
   a copy of your most recently filed income tax return.This should b e provided at least 7 days before the meeting of creditors. DO
   NOT FILE YOUR TAX RETURN WITH THE COURT. Please bring a copy of this notice with you to the Meeting of Creditors.
   Cellular phones and other devices with cameras will NOT be allowed beyond security checkpoints.

                                     Presumption of Abuse under 11 U.S.C. § 707(b)
                                                   See "Presumption of Abuse" on reverse side.
The presumption of abuse does not arise.

                                                                  Deadlines:
                              Papers must be received by the bankruptcy clerk's office by the following deadlines:
                    Deadline to Object to Debtor's Discharge or to Challenge Dischargeability of Certain Debts: 7/10/15

                                               Deadline to Object to Exemptions:
                                         Thirty (30) days after the conclusion of the meeting of creditors.

                                         Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the debtor's
property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the court to extend
or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be penalized. Consult a
lawyer to determine your rights in this case.

                Please Do Not File a Proof of Claim Unless You Receive a Notice To Do So.
                                                Creditor with a Foreign Address:
A creditor to whom this notice is sent at a foreign address should read the information under "Do Not File a Proof of Claim at This Time" on the
reverse side.
Address of the Bankruptcy Cierk's Office:                                                              For the Court:
1340 Russell Federal Building                                                Clerk of the Bankruptcy Court:
75 Spring Street, SW                                                         M. Regina Thomas
Atlanta, GA 30303                                                            See our website: www.ganb.uscourts.gov
Telephone number: 404-215-1000
Hours Open: Monday — Friday 8:00 AM — 4:00 PM                                Date: 4/6'15



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Filing of Chapter 7      A bankruptcy case under Chapter 7 of the Bankruptcy Code (title 11, United States Code) has been filed in this court by
Bankruptcy Case          or against the debtor(s) listed on the front side, and an order for relief has been entered.


 Legal Advice             Neither the Court nor the staff of the bankruptcy clerk's office can give you legal advice. You may want to consult
                          an attorney to protect your rights.


Creditors Generally  Prohibited collection actions are listed in Bankruptcy Code §362. Common examples of prohibited actions include
May Not Take Certain contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or obtain
Actions              property from the debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures; and
                     garnishing or deducting from the debtor's wages. Under certain circumstances, the stay may be limited to 30 days or not
                     exist at all, although the debtor can request the court to extend or impose a stay.


Presumption of Abuse If the presumption of abuse arises, creditors may have the right to file a motion to dismiss the case under § 707(b) of the
                     Bankruptcy Code. The debtor may rebut the presumption by showing special circumstances.


Meeting of Creditors     A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses it a
                         joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors are
                         welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date specified
                         in a notice filed with the court.


Do Not File a Proof of There does not appear to be any property available to the trustee to pay creditors. You therefore should not file a proo of
Claim at This Time     claim at this time. If it later appears that assets are available to pay creditors, you will be sent another notice telling y u
                       that you may file a proof of claim, and telling you the deadline for filing your proof of claim. If this notice is mailed t a
                       creditor at a foreign address, the creditor may file a motion requesting the court to extend the deadline.


Discharge of Debts       The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may never
                         try to collect the debt from the debtor. If you believe that the debtor is not entitled to receive a discharge under
                         Bankruptcy Code §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code §523(a)(2), (4), or
                         (6), you must file a complaint — or a motion if you assert the discharge should be denied under §727(a)(8) or (a)(9)
                         in the bankruptcy clerk's office by the "Deadline to Object to Debtor's Discharge or to Challenge the Dischargeability of
                         Certain Debts" listed on the front of this form. The bankruptcy clerk's office must receive the complaint or motion an
                         any required filing fee by that deadline.


Exempt Property          The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed to
                         creditors. The debtor must file a list of all property claimed as exempt. You may inspect that list at the bankruptcy
                         clerk's office. If you believe that an exemption claimed by the debtor is not authorized by law, you may file an objection
                         to that exemption. The bankruptcy clerk's office must receive the objections by the "Deadline to Object to Exemption s"
                         listed on the front side.


Bankruptcy Clerk's       Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed on
Office                   the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list of the
                         property claimed as exempt, at the bankruptcy clerk's office. (See below for additional information regarding telephone
                         and intemet access to Bankruptcy Court records). See our website: www.ganb.uscourts.gov


Creditor with a Foreign Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
Address                 case.


                                Refer to Other Side for Important Deadlines and Notices
An automated response for further information on this case is available 24 hours daily by calling the Multi—Court Voice Case Information System
(MCVCIS) toll free number 866-222-8029, selecting your language, and then pressing 18 to access the Georgia Northern Bankruptcy Court.
Please have the case number, social security number or debtor name available when calling.

For case information you may choose to visit the Bankruptcy Court locations to view case information for free. Case information may be printed
for 10 cents per page. Members of the bar and the public may access Court records at any time, by obtaining an account with the PACER (Public
Access to Court Electronic Records) Service Center (800-676-6856). PACER access is available via the Internet, days, night and weekends. The


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cost to use PACER is ten (10) cents per page up to a maximum of $3.00 per document. A statement will be generated and mailed for your
account, if you have accrued charges during the quarter and have a balance due greater than $15. If your balance is less than $15, no statement
will be mailed and payment will be deferred until the balance due is greater than $15. The statement will only include the total amount due.




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